Case 1:14-ml-02570-RLY-TAB Document 19843 Filed 09/07/21 Page 1 of 1 PageID #:
                                 123266



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION


 In Re: COOK MEDICAL, INC., IVC                   Case No. 1:14-ml-2570-RLY-TAB
 FILTERS MARKETING, SALES                         MDL No. 2570
 PRACTICES AND PRODUCTS LIABILITY
 LITIGATION


 This Document Relates to Plaintiff(s):

 Terra Frost (1:21-cv-06343-RLY-TAB)




        ORDER PERMITTING WITHDRAWAL OF ATTORNEY APPEARANCE

       Plaintiff Terra Frost’s Motion to Withdraw Attorney Appearance of David Ortez

(Dkt. 19823) is GRANTED.

       IT IS THEREFORE ORDERED that David Ortez is withdrawn as attorney of record for

Plaintiff Terra Frost and is relieved of the duties and responsibility of counsel for Plaintiff

Terra Frost effective immediately. Basil E. Adham and Johnson Law Group shall continue to

serve as counsel of record for Plaintiff.

       Date: 9/7/2021
                                              _______________________________
                                               Tim A. Baker
                                               United States Magistrate Judge
                                               Southern District of Indiana




Distribution to all registered counsel of record via ECF.
